                       EXHIBIT F


        (Notice of Subpoena to Cloudinary Inc.)




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              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  Case No. 20-cv-954-WO-JLW

FARHAD AZIMA,

      Plaintiff,
                                          NOTICE OF SUBPOENA TO
       v.
                                             CLOUDINARY INC.
NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

      Defendants.

PLEASE TAKE NOTICE:

     Pursuant to Rule 45(a)(4) of the Federal Rules of Civil Procedure,

Plaintiff Farhad Azima provides notice to Defendants Nicholas Del Rosso and

Vital Management Services, Inc. that Plaintiff intends to serve the subpoena

attached as Exhibit A on non-party Cloudinary Inc. C/O the Registered, Agent

Incorporating Services, Ltd., 3500 S. DuPont Highway, Dover, DE 19901 on

March 24, 2023.




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  This, the 23rd day of March, 2023.

                            MILLER & CHEVALIER CHARTERED
                              /s/ Calvin Lee
                            Kirby D. Behre (pro hac vice)
                            Timothy P. O’Toole (pro hac vice)
                            Lauren E. Briggerman (pro hac vice)
                            Joseph A. Rillotta (pro hac vice)
                            Ian Herbert (pro hac vice)
                            Calvin Lee (pro hac vice)
                            Cody Marden (pro hac vice)
                            900 16th Street NW
                            Washington, D.C. 20006
                            Phone: (202) 626-5800
                            Fax: (202) 626-5801
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                                     totoole@milchev.com
                                     lbriggerman@milchev.com
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                                     clee@milchev.com
                                     cmarden@milchev.com

                            WOMBLE BOND DICKINSON (US) LLP
                                /s/ Ripley Rand
                            Ripley Rand
                            North Carolina State Bar No. 22275
                            Christopher W. Jones
                            North Carolina State Bar No. 27265
                            Jonathon Townsend
                            North Carolina State Bar No. 51751
                            555 Fayetteville Street, Suite 1100
                            Raleigh, North Carolina 27601
                            Phone: 919-755-2100
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                            Email: ripley.rand@wbd-us.com
                                     chris.jones@wbd-us.com
                                     jonathon.townsend@wbd-us.com

                            Counsel for Plaintiff
                                2




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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   CASE NO. 20-CV-954-WO-JLW

FARHAD AZIMA,

     Plaintiff,

     v.
                                        CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

     Defendants.


     I hereby certify that I served this Notice with Exhibit A by email on the

following counsel for Defendants on March 23, 2023:

     Brandon S. Neuman, Esq.
     Jeffrey M. Kelly, Esq.
     Nathaniel J. Pencook, Esq.
     John Branch, III, Esq.
     Nelson Mullins Riley & Scarborough, LLP
     301 Hillsborough Street, Suite 1400
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     brandon.neuman@nelsonmullins.com
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  Samuel Rosenthal
  Nelson Mullins Riley & Scarborough LLP
  101 Constitution Ave NW, Suite 900
  Washington, DC 20001
  Tel. 202-689-2951
  Fax: 202-689-2860
  sam.rosenthal@nelsonmullins.com

  Counsel for Defendants




  This, the 23rd day of March, 2023.

                               MILLER & CHEVALIER
                               CHARTERED
                                /s/ Calvin Lee
                               Calvin Lee (pro hac vice)
                               900 16th Street NW
                               Washington, D.C. 20006
                               Phone: (202) 626-5800
                               Fax: (202) 626-5801
                               Email:      clee@milchev.com

                               Counsel for Plaintiff




                                  2




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                  Exhibit A




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 20-cv-954

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                            Attachment A
                                          INSTRUCTIONS
        1.     Prior to answering the following, you are requested to make a due and diligent
search of your books, records, and papers, with a view to eliciting all information responsive to
this subpoena.

       2.     If you object to any request on the basis of privilege, please identify the nature of
the documents being withheld on that basis.

        3.      If any document responsive to this request was, but no longer is in your
possession, state whether it is missing or lost; if it has been destroyed; if it has been transferred,
voluntarily or involuntarily, to others; or if it has otherwise been disposed of. In each instance,
identify the document fully, explain the circumstances, and identify the people having
knowledge of such circumstances.

       4.      If you contend that any documents covered in these requests are not reasonably
accessible or would be unduly burdensome to locate or produce, identify such documents by
category and source and provide detailed information regarding the burden or cost you claim is
associated with the search for or production of such documents.

       5.      To the extent documents produced in response to this request include electronic
documents, such as spreadsheets or databases, please produce all such documents in native form,
ensuring that all formulae and metadata embedded in such documents are produced.

      6.      To the extent you intend to not produce a requested document, you are directed to
make and safeguard a copy of the requested information.

       7.    The relevant time period for documents responsive to the following requests shall
be between August 1, 2014 until December 31, 2020.

                                            DEFINITIONS
         1.    The term “Communication” means any oral, written, or electronic transmission of
information, including but not limited to records of face-to-face meetings, letters, emails, text
messages, messaging applications, social media messaging, telephone calls, chat rooms, or group
list serves.

       2.     The term “Document” is intended to be as comprehensive as the meaning
provided in Rule 34 of the Federal Rules of Civil Procedure.




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        3.     The term “Person” means any individual, corporation, partnership, proprietorship,
association, organization, governmental entity, group of persons or any other entity of whatever
nature.

        4.      The terms “relate to” or “relating to” means consisting of, referring to, regarding,
reflecting, supporting, prepared in connection with, used in preparation of, or being in any way
logically or factually connected with the matter discussed.

        5.     The term “you” means Cloudinary Ltd., and all employees, agents,
representatives, subsidiaries, affiliates, assignees, or other persons acting or purporting to act on
its behalf.

       6.      “Plaintiff” refers to Farhad Azima, the plaintiff in this action.

       7.      “Defendants” refers to Nicholas Del Rosso and Vital Management Services, Inc.

       8.     “Nicholas Del Rosso” refers to Nicholas Del Rosso, the owner and an employee of
the company Vital Management Services, Inc. Del Rosso is believed to reside at 318 Lystra
Preserve Drive, Chapel Hill, North Carolina 27517.

       9.     “Vital Management Services, Inc.” and “Vital” refer to a company believed to be
owned and operated by Nicholas Del Rosso located at 1340 Environ Way, Chapel Hill, North
Carolina, 27517.

       10.     “CyberRoot” refers to CyberRoot Risk Advisory Private Limited, a company based
in Gurgaon, Delhi, India and all current and former employees, agents, representatives,
subsidiaries, affiliates, assignees, or other persons acting or purporting to act on its behalf,
including but not limited to the following individuals:

            a. Vijay Bisht,

            b. Vibhor Sharma,

            c. Vikash Pandey, and

            d. Chiranshu Ahuja.

        11.    “BellTroX” refers to BellTroX Info Tech Services and all employees, agents,
representatives, subsidiaries, affiliates, assignees, or other persons acting or purporting to act on
its behalf.




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                             DOCUMENTS TO BE PRODUCED
1.      All Documents and Communications from 2014 to 2020 relating to Cloudinary’s
relationship with CyberRoot or BellTrox, including invoices, records of customer payments,
correspondence, and reports.

2.     All Documents and Communications from 2014 to 2020 relating to the work performed
by Cloudinary for CyberRoot or BellTrox or for the benefit of CyberRoot or BellTrox.

3.     All Documents and Communications from 2014 to 2020 related to or mentioning Plaintiff
Farhad Azima or Defendants Del Rosso and Vital.




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